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                                                 EXHIBIT A


  DISTRICT COURT, SUMMIT COUNTY, STATE OF
  COLORADO
  Court Address: 501 North Park Avenue                          DATE FILED: March 26, 2019 5:22 PM
                 P.O. Box 269                                   FILING ID: A40D37B26669F
                 Breckenridge, CO 80424                         CASE NUMBER: 2019CV30047


  Plaintiff: Richard Robuck

  v.
                                                                       ▲COURT USE ONLY▲
  Defendant:     C.R. England, Inc., and Deshawn Arrington

  Counsel for the Plaintiffs
  William C. Marlin, Reg. No. 16093
  Joseph A. Sirchio, Reg. No. 44675
  Franklin D. Azar & Associates, P.C.                            Case No.
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   DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEADING OF
                               COMPLAINT,
         COUNTERCLAIM, CROSS-CLAIM OR THIRD PARTY COMPLAINT
                            AND JURY DEMAND


  1. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim, cross-
     claim or third party complaint in every district court civil (CV) case. It shall not be filed in
     Domestic Relations (DR), Probate (PR), Water (CW), Juvenile (JA, JR, JD, JV), or Mental
     Health (MH) cases. Failure to file this cover sheet is not a jurisdictional defect in the
     pleading but may result in a clerk’s show cause order requiring its filing.

  2. Simplified Procedure under C.R.C.P. 16.1 applies to this case unless (check one box below
     if this party asserts that C.R.C.P. 16.1 does not apply):

          This is a class action, forcible entry and detainer, Rule 106, Rule 120, or other similar
          expedited proceeding, or

       ■ This party is seeking a monetary judgment against another party for more than
         $100,000.00, including any penalties or punitive damages, but excluding attorney fees,
         interest and costs, as supported by the following certification:



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                                                 EXHIBIT A


               By my signature below and in compliance with C.R.C.P. 11, based upon information
               reasonably available to me at this time, I certify that the value of this party’s claims
               against one of the other parties is reasonably believed to exceed $100,000.”

       Or

           Another party has previously filed a cover sheet stating that C.R.C.P. 16.1 does not apply
       to this case.

  3.        This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.P.

   (Checking this box is optional.)

  Respectfully, submitted this 26th day of March, 2019.

                                                       FRANKLIN D. AZAR & ASSOCIATES, P.C.
                                                       By: /s/ Joseph A. Sirchio
                                                       Joseph A. Sirchio, Reg. No. 44675
                                                       William C. Marlin, Reg. No. 16093
                                                       COUNSEL FOR PLAINTIFF




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